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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                                                                                         II
                                FORT LAUDERDALE DIVISION
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                        Case No. 16-62942-CIV-DIMITROULEAS I SNOW                                       I
    KERRY ROTH, on behalf of herself and all
    others similarly situated,
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           Plaintiff,
                                                                                                        l
    vs.

    GEICO GENERAL INSURANCE
    COMPANY;

           Defendant.

                 ORDER OF SECOND JUDGMENT AND FINAL JUDGMENT

          This Court has considered the Parties' Joint Request for Entry of Judgment, and Plaintiffs

   Request for Determination of Entitlement to Attorneys' Fees, Costs, and Expenses, and a

   Representative Plaintiff Service Award, and enters the following Order and Judgment.

          WHEREAS this Court on May 4, 2018 entered an Order pursuant to Fed. R. Civ. P.                I
   23(c)(l) certifying the Plaintiffs proposed class of Florida first-party total loss leased vehicle   I
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   insureds whose total losses occurred during the period August 31, 2011 through August 31, 2016
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   (DE 165);

          WHEREAS this Court on May 18, 2018 entered an Order pursuant to Fed. R. Civ. P.

   23(B)(i)-(vii) approving the form and method of Notice to Class Members (DE 211 );

          WHEREAS Class Notice was made on June 1, 2018 pursuant to Fed. R. Civ. P. 23(c)(2)(B)

   and in accordance with the Court's May 18,2018 Order (DE 234);
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           WHEREAS this Court on June 14, 2018 entered an Order granting Summary Judgment in

   favor of Plaintiff as to Plaintiffs breach of contract claims (DE 24 7);

           WHEREAS Defendant filed a Motion to Decertify the Class (DE 255) on August 27, 2018;

           WHEREAS Plaintiff filed an Opposition to Defendant's Motion to Decertify the Class (DE

   259) on September 4, 2018, and filed a Request for Entry of Judgment (DE 262) on September 7,

   2018;

           WHEREAS Defendant filed an Opposition to Plaintiffs Request for Entry of Judgment

   (DE 265) on September 17, 2018;

           WHEREAS, the Court denied the Motion to Decertify the Class, and denied without

   prejudice Plaintiffs Request for Entry of Judgment (DE 267);

           WHEREAS, this Court entered an Order and Judgment on November 21, 2018 (the "First

   Judgment") [DE 281], in the amount $5,870,893.32 in favor of a certified class including 3,302 persons

   to whom notice was directed, who did not request to be excluded from the Certified Class, and who

   are identified in Exhibit A to the parties first Joint Request for Entry of Judgment. [DE 277-1];

           WHEREAS the First Judgment excludes and does not bind any person beyond the 3,302

   persons identified in Exhibit A to the Parties first Joint Request for Entry of Judgment. [DE 281 ];

           WHEREAS, the parties filed a Joint Motion for Supplemental Notice on November 16, 2018

   relating to (1) a group of persons identified by Defendant in its opposition to Plaintiff's first Request

   for Entry of Judgment, who had leased vehicles, and were not in the original notice; and (2) a group of

   leased vehicle total loss insureds who were not previously identified, but Plaintiff now believes should

   be part of the class [DE 278];

           WHEREAS, the Joint Motion for Supplemental Notice proposed that this Court approve the

   Supplemental Notice and provided that the parties agreed to undertake the "back and forth vetting"
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   process on newly identified claims and damages consistent with the Court's Omnibus Order of

   September 19,2018 [DE 278];

           WHEREAS the Court granted the Joint Motion for Supplemental Notice [DE 279];

           WHEREAS Supplemental Notice occurred and no persons to whom Notice was directed

   requested to be excluded from the lawsuit or the class [DE 283]; and

           WHEREAS the process of identifying claims and damages consistent with the Court's

   Omnibus Order has been completed and the parties have submitted a Second Joint Request for Entry

   of Judgment for all persons identified in Exhibit A to the Parties' Second Joint Request for Entry

   of Judgment;

           NOW THEREFORE, the Court enters a second judgment pursuant to Fed. R. Civ. P.

   23(c)(3)(B) in favor of Plaintiff and the Class and against Defendant GEICO General Insurance

   Company in the amount of$657,427.52 in damages and prejudgment interest. The Certified Class

   consists of:

          All persons insured by Defendant under a Florida insurance policy for private
          passenger auto ("PPA") physical damage who suffered a first-party total loss of a
          covered leased vehicle at any time during the 5 years prior to the filing of this
          lawsuit, whose claim was adjusted by Defendant as a total loss claim, whose claim
          resulted in payment by Defendant of a covered claim, and who was not paid the full
          total loss vehicle value ("TL VV ") sales tax or title transfer fees.

   [See DE 165]. The Certified Class includes those 375 persons to whom supplemental notice was

   directed, who did not request to be excluded from the Certified Class, and who are identified in

   Exhibit A to the Parties' Second Joint Request for Entry of Judgment. This second judgment is in

   addition to and does not replace the First Judgment [DE 281]. This second judgment excludes and

   does not bind any persons beyond the 375 persons identified in Exhibit A.



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           The Court ORDERS Defendant to issue payments to class members in accordance with

   damages allocations set forth in Exhibit A to the Parties' Second Joint Request for Entry of

   Judgment.

           The Court ORDERS that Plaintiff shall file any Motion for Attorneys' Fees, Costs, and

   Expenses pursuant to S.D. Fla. L.R. 7.3, Fla. Stat. § 627.428, and other applicable law within sixty

   (60) days of entry of this Order.

           The Court ORDERS that Plaintiff shall file any Motion for Service Award within sixty

   (60) days of entry of this Order.

           The Court ORDERS that this is a final judgment on the merits pursuant to 28 U .SC. § 1291.

   The Court shall consider the collateral matters of any Motion for Attorneys' Fees, Costs, and

   Expenses, and any Motion for Service Award consistent with the schedule set out in this Order.

           The Clerk shall CLOSE this case.

           DONE AND ORDERED in Chambers, in Fort Lauderdale, Broward County, Florida.



   Dated   ~7uf1
                                                 United States District Judge




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SECOND JUDGMENT                                                SUMMARY


                                                                     Total
Counts                                                                 375
Sales Tax Underpayment                                          527,544.34
Title Underpayment                                               28,218.75
Interest                                                        101,664.43
Total Damages exclusive of fees, expenses, and service award    657,427.52
